                       UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                               Case No. 20-cv-954



 FARHAD AZIMA,

        Plaintiffs
                                                        PLAINTIFF FARHAD AZIMA’S
        v.                                             OPPOSITION TO DEFENDANTS’
                                                     MOTION FOR EXTENSION OF TIME
 NICHOLAS DEL ROSSO and VITAL                         TO FILE RESPONSIVE PLEADING
 MANAGEMENT SERVICES, INC.,

        Defendants.



       This matter has been pending for two years. In that time, Defendants Nicholas del Rosso

and Vital Management Services (“Defendants”) have filed not one but two successive motions to

dismiss. Defendants have on multiple occasions opposed motions by Plaintiff Farhad Azima

(“Plaintiff” or “Azima”) that would allow him to issue subpoenas and start discovery to ensure

that relevant documents are preserved. Now that the matter is on the precipice of discovery,

Defendants have once again sought to delay by seeking more time to file their answer. The court

should not allow further delay and should order Defendants to answer in accordance with the

October 12, 2022, deadline set forth by the Rules (almost exactly two years after the filing of the

Complaint). Regardless, the court should issue the Rule 26(f) Report deadline and Rule 16

Conference notice, so that discovery can begin. In support of this opposition, Plaintiff submits the

following:

       1.      Plaintiff filed the Complaint here against Defendants on October 15, 2020.

(Document No. 1.) Plaintiff served Defendants on October 16, 2020. (Document No. 5.)




                                                 1


       Case 1:20-cv-00954-WO-JLW Document 83 Filed 10/07/22 Page 1 of 5
       2.      Plaintiff consented to a 45-day extension of Defendants’ time to answer or

otherwise respond to the Complaint. (Document No. 18.)

       3.      Defendants moved to dismiss the Complaint on December 21, 2020. (Document

No. 34.) Judge Webster issued his Order and Recommendation on August 9, 2021. (Documents

No. 54.) On December 10, 2021, the Court issued its Memorandum and Opinion granting in part

and denying in part the motion to dismiss. (Document No. 65.)

       4.      Rather than answering the Complaint, Defendants filed a second motion to dismiss

on December 23, 2021. (Document No. 67) Defendants also filed a motion to reconsider the partial

denial of the motion to dismiss. (Document No. 74). The motion to reconsider was denied by

Judge Osteen on March 21, 2022. In the Memorandum and Opinion, Judge Osteen “remind[ed]

the parties that Federal Rule of Civil Procedure 11(b)(1) requires that every court filing must not

be intended to ‘cause unnecessary delay.’”

       5.      Given concerns about document destruction and preservation, Plaintiff has sought

to start discovery four times in connection with this matter. (Documents Nos. 7, 36, 52, 66.) Each

time, Defendants have opposed Plaintiff’s request. (Documents Nos. 21, 43, 53, 70.)

       6.      On September 28, 2022, the Court entered its Memorandum Opinion and order

denying Defendants’ second motion to dismiss. (Document No. 80.) Defendants’ deadline to

answer the Complaint is October 12, 2022. A week after the Court issued its order, Defendants

contacted Plaintiff seeking a 30-day extension. Given the two-year delay since the Complaint was

filed, Plaintiff declined to consent to this extension.

       Based on the foregoing, Plaintiff Farhad Azima respectfully requests that the Court deny

the Motion to Extend Time (Document No. 82).




                                                   2


       Case 1:20-cv-00954-WO-JLW Document 83 Filed 10/07/22 Page 2 of 5
This, the 7th day of October, 2022.

                                      WOMBLE BOND DICKINSON (US) LLP

                                      /s/ Ripley Rand
                                      Ripley Rand
                                      North Carolina Bar No. 22275
                                      Christopher W. Jones
                                      North Carolina Bar No. 27625
                                      555 Fayetteville Street, Suite 1100
                                      Raleigh, North Carolina 27601
                                      Phone: 919-755-2100
                                      Fax: 919-755-2150
                                      Email: ripley.rand@wbd-us.com
                                              chris.jones@wbd-us.com

                                      MILLER & CHEVALIER CHARTERED


                                      /s/ Kirby D. Behre
                                      Kirby D. Behre (pro hac vice)
                                      Brian A. Hill (pro hac vice)
                                      Tim O’Toole (pro hac vice)
                                      Ian Herbert (pro hac vice)
                                      Calvin Lee (pro hac vice)
                                      900 16th Street, NW
                                      Washington, D.C. 20006
                                      Telephone: (202) 626-5800
                                      Fax: (202) 626-5801
                                      Email: kbehre@milchev.com

                                      Counsel for Plaintiff




                                         3


Case 1:20-cv-00954-WO-JLW Document 83 Filed 10/07/22 Page 3 of 5
                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                                  CASE NO. 20-CV-954


FARHAD AZIMA,

       Plaintiff,

       v.                                            CERTIFICATE OF SERVICE

NICHOLAS DEL ROSSO and VITAL
MANAGEMENT SERVICES, INC.,

       Defendants.




     I hereby certify that I electronically filed the foregoing with the Clerk of Court using the
CM/ECF system, which will send electronic notification of this Notice to the following attorneys:
       Kieran J. Shanahan, Esq.
       Brandon S. Neuman, Esq.
       Jeffrey M. Kelly, Esq.
       Nathaniel J. Pencook, Esq.
       GlenLake One
       4140 Parklake Avenue - Suite 200
       Raleigh, NC 27612
       kieran.shanahan@nelsonmullins.com
       brandon.neuman@nelsonmullins.com
       jeff.kelly@nelsonmullins.com
       nate.pencook@nelsonmullins.com
       Telephone: 919.329.3800
       Facsimile: 919.329.3799

       This, the 7th day of October, 2022.

                                             WOMBLE BOND DICKINSON (US) LLP

                                             /s/ Ripley Rand
                                             Ripley Rand
                                             North Carolina State Bar No. 22275
                                             555 Fayetteville Street, Suite 1100
                                             Raleigh, NC 27601


                                                4


       Case 1:20-cv-00954-WO-JLW Document 83 Filed 10/07/22 Page 4 of 5
                             Telephone:     (919) 755-8125
                             Facsimile:     (919) 755-6752
                             Email:         Ripley.Rand@wbd-us.com


                             Counsel for Plaintiff




                                5


Case 1:20-cv-00954-WO-JLW Document 83 Filed 10/07/22 Page 5 of 5
